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                         EXHIBIT 1
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                             PROFESSOR STEFFEN HINDELANG

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D-10623 Berlin / Germany
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E mail@steffenhindelang.de
  16TU                       U16T




W http://www.steffenhindelang.de/en/

DoB 06 December 1978
German citizen


PROFESSIONAL APPOINTMENTS


 Professor of law (with special responsibilities)                                      (since 2017)
University of Southern Denmark Odense, Dept. of Law / Denmark

  Research Focus
  - EU law: focusing on jurisdictional conflicts of the CJEU and investment tribunals,
      relationship of EU to national law and public international law, autonomy of the EU legal
      order; EU free movement of capital from and towards third countries, direct taxation,
      Common Commercial Policy
  - international law, esp. international economic law: focusing on international investment
      law, investment arbitration, international dispute settlement; investment law reform and
      sustainable development, comprehensive trade and investment agreements, regime collisions,
      norm diffusion in international and regional trade and investment regimes, economic analysis
      of investment protection norms, the relationship of international investment law to (general)
      public international law and to EU law
  - German and comparative constitutional and administrative law: freedom of speech in a
      digital age from a multidisciplinary perspective (esp. constitutional and media law, media and
      communication studies, political theory, economics)

 Teaching and Supervising:
   - lectures and seminars in EU law, European and international norm and standard setting,
      former faculty coordinator and supervisor of the Free University team in the European Law
      Moot Court Competition, international economic and investment law, investor-State dispute
      settlement, WTO law, German constitutional and administrative law
   - supervising LL.M. and Ph.D. theses in the area of EU law, public law, and public
      international law

 Academic Self-administration:
  - head of international affairs at the Dept. of Law                                   (since 2017)
  - member of working group on internationalisation at faculty level                    (since 2017)

 Independent legal expert                                                              (since 2011)

 Advisory and advocacy practice
  - public international law, esp. international economic law focusing on international trade and
     investment law and policy, SMEs, sustainable development, international dispute settlement
  - EU law, esp. EU Common Commercial Policy, freedom of capital movement focusing on
     EU comprehensive free trade agreements, free movement of capital from and towards third

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     countries, direct taxation, regulation of the networked information economy, sovereign debts,
     “Brexit”, plus: EU constitutional law
   - German and comparative constitutional and administrative law

 Notable consultancy experience
  - the German Federal Government, repeatedly, on the foreign trade act, trade in dual-use
     goods, EU and investment law matters
  - the European Parliament, repeatedly, on several comprehensive free trade agreements (e.g.
     with Canada, Singapore, Vietnam, etc.)
  - the Slovak Government in the Achmea case, on various stages of the proceedings
  - the Spanish Government in enforcement proceedings in US Courts
  - a permanent member of the UN Security Council in a major investment arbitration case
  - the German Federal Parliament, repeatedly, on trade and investment policy
  - the United Nations Conference on Trade and Development on comprehensive free trade
     agreements and investment law reform
  - policy project co-leader together with the Association of German Chambers of Commerce
     and Industry on reforming comprehensive free trade agreements
  - a global internet company in CJEU proceedings on certain data regulation issues
  - several US-American and British banks and investment funds on sovereign debt-related EU
     and domestic law issues
  - a state-owned enterprise on EU law questions relating to aircraft certification

 Public speaking (outside academia)
  - on international trade and investment, EU, and German public law and policy at hearings of the
     European and German Parliament, as co-rapporteur in UNCTAD’s High-level IIAs Conference
     2017, at panel discussions at the Bavarian Industry Association, the Canadian Embassy Berlin,
     together with, inter alia, the Canadian Trade Minister H.E. Chrystia Freeland, at a meeting of
     the Committee on Trade Policy of the Association of German Chemical Industry; appearance in
     major news outlets, etc. (for up-to-date list cf. here)


ADDITIONAL PROFESSIONAL APPOINTMENTS (Selection)

 Adjunct faculty
Humboldt-Universität (Humboldt-University) of Berlin, Law School / Germany              (since 2011)
Technische Universität (Technical University) of Berlin, Germany                        (since 2017)

 Academic advisor                                                                      (since 2010)
International Investment Law Centre Cologne / Germany

 Senior fellow                                                                         (since 2011)
Walter Hallstein-Institute of European Constitutional Law / Germany


FORMER PROFESSIONAL APPOINTMENTS

 Guest professorships at Nagoya University / Japan, Uppsala University / Sweden, Mannheim
University / Germany, Moscow State Institute of International Relations / Russia, Université de
Lausanne / Switzerland, Università Commerciale Luigi Bocconi Milan / Italy


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 Juniorprofessor (approx. between assoc. and full professor)                           (2011-2017)
Freie Universität (Free University) Berlin, Dept. of Law / Germany
   - deputy managing director of the Institute of Public Law                            (2015-2017)
   - member of the working group “International Network” of the
      Executive Board of the Freie Universität (Free University) Berlin                 (2015-2017)
   - research team leader and coordinator of large-scale research projects              (2011-2017)
   - supervisor of the European Law Moot Court Team                                     (2011-2017)

 Senior research associate and senior lecturer                                         (2010-2011)
Humboldt-Universität (Humboldt-University) of Berlin, Law School / Germany

 Rechtsassessor (fully qualified German lawyer)                                        (2007-2009)
State of Baden-Württemberg / Germany
Zweite Juristische Staatsprüfung (bar exam equivalent), Referendariat (legal clerkship)
with stages, inter alia, at
   - the Federal Ministry of Economics and Technology Berlin, Division of Foreign Investments,
       Debt Rescheduling, World Bank and Regional Development Banks
   - Gleiss Lutz Lawyers and Tax Consultants Stuttgart, Dept. of Litigation and Arbitration
   - CMS Hasche Sigle Lawyers and Tax Consultants Stuttgart, Dept. of Construction, Real
       Estate, and Environmental Law

 Research associate and lecturer                                                       (2004-2009)
Eberhard-Karls-Universität (Karls-University) of Tübingen, Law School / Germany


PROFESSIONAL MEMBERSHIPS (Selection)

 List of Experts of the Committee of International Trade of the European Parliament (2018-2023)
 Hogan Lovells Law & Technology Academic Advisory Council                           (since 2017)

 In addition: European Society of International Law, Society of International Economic Law,
German branch of the International Law Association, alternate member ILA Committee on the Rule of
Law and International Investment Law, Wissenschaftliche Vereinigung für das gesamte
Regulierungsrecht ((German) Scientific Society of Regulatory Law), DIS40 – Deutsche Initiative
junger Schiedsrechtler (German Initiative for Young Arbitrators), German National Committee of
Comparative Law


EDUCATION

 Habilitation equivalent                                                                   (2014)
Freie Universität (Free University) Berlin, Department of Law / Germany

 Dr. iur. (Ph.D. in law equivalent)                                                        (2008)
Eberhard-Karls-Universität (Karls-University) of Tübingen, Law School / Germany

 Erste Juristische Staatsprüfung (1st legal state examination; J.D. equivalent)
                                      P   P                                                 (2003)
Philipps Universität (Philipps University) of Marburg, Law School / Germany



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 LL.M. in international, european and commercial law                                           (2001)
University of Sheffield, Law School / United Kingdom


SCHOLARSHIPS AND PRIZES (Selection)

 Riksbankens Jubileumsfond (The Swedish Foundation for Humanities and Social Sciences) in
cooperation with the Alexander von Humboldt Stiftung (Foundation) / Germany, 26th Swedish Prize
for excellency in international economic and EU law research (merit research award, 2016);
Reinhold und Maria Teufel Stiftung (Foundation) / Germany, Doctoral thesis prize (2009);
Stiftung der Deutschen Wirtschaft (Foundation of German Business), Merit doctoral scholarship
(2005-2008); DAAD (German Academic Exchange Service), Merit scholarship for the
participation in the Academy of European Law, European University Institute, Florence / Italy
(07/2005); Konrad-Adenauer-Stiftung (Foundation) / Germany, Merit student scholarship (1998-
2003)


LANGUAGES

 German (native speaker), English (fluent in speaking, reading and writing), Russian (good; after
reactivation, in speaking, reading, and writing), Italian, and Danish (basic in speaking and reading)


                                                                              State: 28 December 2018

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